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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                       v.                          Case No. 21-cr-537-JMC-1

 RYAN SAMSEL,

                       Defendant.



                                           ORDER

       For the convenience of the Court, it is hereby ORDERED that the United States Marshals

Service shall forthwith transfer Defendant Ryan Samsel from the Philadelphia FDC facility to the

USP Lewisburg facility.

       SO ORDERED.

       DATE: March 4, 2022




                                                           Jia M. Cobb
                                                           U.S. District Court Judge




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